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Case No. 96-IbL [ ( JER) So ar it may be decided and coed’ On by

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Respectfully Submited Joshua Wall oma Eric Yeilner

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Jn The United Crates Districh Couct
For The Districh of Columbia

To Vhe Honorable Judge Jares E, Bonshera

Motion lo Letervene Ja [he Above- Captioned Case

And Disqnalify Judge dames Boasberg From Presiding

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Nid enti ary hearing On this matter,

Respectfully Submitted Joshua all and Eric Heiner

Signed this 6” Any of May, 2025

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